         Case 1:21-cr-00670-CJN Document 112 Filed 07/14/22 Page 1 of 7




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :       Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:



 REPLY TO OPPOSITION TO RENEWED MOTION TO CONTINUE TRIAL DUE TO
                       PRE-TRIAL PUBLICITY



       Defendant Stephen K. Bannon, by and through his undersigned counsel, files this Reply

to the Government’s Opposition [Doc. 111] to his Renewed Motion to Continue Trial Due to

Pre-Trial Publicity [Doc. 108].

       In its Opposition, the Government first notes that this is Mr. Bannon’s fourth filing in two

weeks related to seeking a continuance of the trial date [Doc. 111 at 1]. To be clear, consistent

with our obligations to our client and the independent duty each participant in this process has to

ensure its integrity, undersigned counsel intend to continue to make a record in this Court as to

relevant examples of pre-trial publicity that we believe irretrievably prejudices his Fifth and

Sixth Amendment rights to a fair trial.

       The Government next argues that the pre-trial publicity Mr. Bannon cites in his renewed

motion regarding the July 12, 2022 public hearing, which includes a focus on him, his rhetoric,

his role as a “close advisor” in former President Trump’s “inner circle,” who was in repeated
            Case 1:21-cr-00670-CJN Document 112 Filed 07/14/22 Page 2 of 7




telephone contact with former President Trump close in time to the events of January 6th, during

a show/hearing with a stated purpose of exposing the “extremists” close to former President

Trump who were responsible for the “incitement” that led to the January 6 events, should be

dismissed in considering any pre-trial publicity because neither it nor the inflammatory CNN

piece cited in the Renewed Motion was directed toward his contempt of Congress case [Doc. 111

at 1-2].

           By the Government’s logic, if the hearings characterized Mr. Bannon as the principle

architect of the January 6, 2022 events, directly responsible for what the Committee

characterizes as an “insurrection” and if the CNN piece portrayed Mr. Bannon as a traitor, a

serial killer, and a supporter of terrorism, the Court need not trouble itself about any such pre-

trial publicity prejudicing a jury pool, because neither program referred specifically to his

misdemeanor contempt of Congress case. One might fairly suggest that logic does not actually

reflect the nature of the concerns at issue for an examination of the prejudicial impact of

inflammatory pre-trial publicity on a potential juror’s possible pre-determined views of a

defendant. As an aside, while Chairman Thompson still has not responded to Mr. Costello’s

letter reflecting the withdrawal of executive privilege, Mr. Bannon’s ability to comply with the

subpoena now, and his request for the Chairman to contact him to work out a time for Mr.

Bannon’s testimony, Chairman Thompson has found it appropriately to conduct media

interviews, as recently as on July 13, 2022, expressly to discuss Mr. Bannon’s contempt of

Congress case, notwithstanding the Chairman’s invocation of privilege to avoid testifying at Mr.

Bannon’s trial pursuant to a subpoena undersigned counsel served on Chairman Thompson.

           The idea that the Court should dismiss inflammatory pre-trial publicity because it does

not focus on the contempt of Congress charge finds not authority in the law and, of course, none

                                                   2
          Case 1:21-cr-00670-CJN Document 112 Filed 07/14/22 Page 3 of 7




is cited by the Government. In fact, it is actually these sorts of highly inflammatory portrayals of

the defendant about to start his trial, on subjects that specifically would not be admissible in

evidence, both because they are not directly relevant to the charges and because they are so

highly prejudicial, that often is a Court’s primary concern. See e.g., Marshall v. United States,

360 U.S. 310 (1959) (reversing conviction because of two newspaper articles that ran during the

defendant’s trial that mentioned some things from his past and about his wife that the trial judge

had excluded from evidence because they were not directly relevant to the charged crimes and

were inflammatory).

        Next, the Government dismisses the CNN hour-long Special Report about Mr. Bannon

called “Divided We Fall,” scheduled to air multiple times, beginning in prime-time on July 17,

2022, and now being widely promoted, as apparently just an “examination of the defendant’s

role as a political consultant.” [Doc. 111 at 2]. Mr. Bannon would ask the Court to review the

teaser, trailer, and narrative used to promote the piece, provided in the Renewed Motion [Doc.

108 at 5-6] to determine whether this is a fair characterization. Mr. Bannon would also ask the

Court to consider the new and enhanced trailer that CNN ran on July 13, 2022 (set out below) to

promote its hour-long Special Report on Mr. Bannon the night before trial begins, The Court get

a sense from the video whether the thrust of the CNN piece is to examine Mr. Bannon’s role as a

“political consultant.1”

CNN DOCUMENTARY TRAILER #2: JULY 13, 2022

STEPHEN K. BANNON: We will govern for over 100 years.

PERSON 1: His vision is almost messianic.



1
 As for the Government’s assertion that the piece has nothing to do with the contempt of
Congress case, the trailer itself contains footage of Mr. Bannon on the day of his first appearance
in this Court for the contempt of Congress charge.
                                                  3
         Case 1:21-cr-00670-CJN Document 112 Filed 07/14/22 Page 4 of 7



PERSON 2: Bannon sees himself as the narrator in a grand conspiracy of his own devising.

NARRATOR: In rare interviews, CNN investigates the man and his master plan.
DREW GRIFFIN: What did Bannon bring to you?
BRAD PARSCALE: Bannon's calling the plays.

PERSON 3: He seems to have no limits.
NARRATOR: CNN special report. Steve Bannon. Divided we fall. Sunday at eight.

TVEyes Link: http://mms.tveyes.com/PlaybackPortal.aspx?SavedEditID=d70eb48b-a9bd-444b-9cfe-
5a00f9fc840d

DropBox Link: https://www.dropbox.com/s/wn7yk2xwhokswe3/CNN_07-13-2022_20.46.08.mp4?dl=0

       Finally, the Government asserts that Mr. Bannon has offered “no basis” for his

“extraordinary claims” that individual sequestered voir dire should be conducted, if the Court is

determined to go forward as scheduled. Government counsel asserts that, in any event, the

matter of the “Special Report” should not be raised with prospective jurors and the Court should

not accept the defense’s “invitation to introduce the jury pool to extraneous information about

the Defendant that they did not previously know ….” [Doc. 111 at 3].

       First of all, Mr. Bannon made no such “invitation.” Secondly, Mr. Bannon certainly did

provide a “basis” (and authority) for his contention that individually sequestered voir dire is in

order and that there is a real danger if the jury pool is exposed to prejudicial information a juror

have and might expose to the rest in a group voir dire. [Doc. 108 at 6-7].

       If the case is going forward during this time of this cumulative pre-trial publicity

concerning Mr. Bannon, the voir dire process would be virtually meaningless if it simply ignores

the Special Report that is airing multiple times as a highly promoted CNN Special Report, the

night before jury selection. A fundamental part of voir dire is to engage in a fully searching

process on factors that might have led to prejudice or pre-determined judgments from extraneous

factors, like television. We must know if potential jurors saw the Committee hearings or

watched the CNN Special Report or its trailer. If one prospective juror mentions the CNN

                                                   4
         Case 1:21-cr-00670-CJN Document 112 Filed 07/14/22 Page 5 of 7




Special report during “normal” group voir dire, as the Government refers to it, the entire rest of

the pool could be tainted by now being exposed to something about which they otherwise might

not have known. The subject cannot be ignored and might well be raised publicly if voir dire is

conducted in a group. If a question about familiarity with Mr. Bannon elicits an affirmative

response from someone in the jury pool, and if that familiarity comes in part from having seen

him portrayed in a chilling Special Report the night before, saying so publicly poses a danger of

tainting the entire pool. That is the basis for the concern raised in the Renewed Motion, and it is

supported by the authority cited in the Renewed Motion. [Doc. 108 at 6-7 & notes 6 & 7].

       Mr. Bannon reiterates his view that voir dire cannot cure the risk from the cumulative

pre-trial publicity, exacerbated by the widely viewed and rebroadcast Committee hearings and

now this CNN Special Report and promotional materials. Again, there is no reason for this trial

to go forward as scheduled in light of the risk of prejudice and the readily available remedy of

simply continuing the trial for a reasonable period of time, still within the average time frame for

resolutions of criminal cases in this District, while appropriately prioritizing the concerns about

the risk of prejudice. The trial should be continued for a modest period of time, to let the

hearings finish and their contemporaneous broadcasts dissipate.

Dated: July 14, 2022                          Respectfully submitted,

                                              SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                                 /s/ M. Evan Corcoran
                                              M. Evan Corcoran (D.C. Bar No. 440027)
                                              400 East Pratt Street – Suite 900
                                              Baltimore, MD 21202
                                              Telephone: (410) 385-2225
                                              Facsimile: (410) 547-2432
                                              Email: ecorcoran@silvermanthompson.com




                                                 5
Case 1:21-cr-00670-CJN Document 112 Filed 07/14/22 Page 6 of 7




                               /s/ David I. Schoen
                            David I. Schoen (D.C. Bar No. 391408)
                            David I. Schoen, Attorney at Law
                            2800 Zelda Road, Suite 100-6
                            Montgomery, Alabama 36106
                            Telephone: (334) 395-6611
                            Facsimile: (917) 591-7586
                            Email: schoenlawfirm@gmail.com


                               /s/ Robert J. Costello
                            Robert J. Costello (pro hac vice)
                            Davidoff Hutcher & Citron LLP
                            605 Third Avenue
                            New York, New York 10158
                            Telephone: (212) 557-7200
                            Facsimile: (212) 286-1884
                            Email: rjc@dhclegal.com


                            Counsel for Defendant Stephen K. Bannon




                               6
         Case 1:21-cr-00670-CJN Document 112 Filed 07/14/22 Page 7 of 7




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 14th day of July 2022, a copy of the foregoing Reply to

Opposition to the Renewed Motion To Continue Trial was served via the Court’s CM/ECF system

on registered parties and counsel.


                                             /s/ M. Evan Corcoran
                                          M. Evan Corcoran (D.C. Bar No. 440027)
